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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

                                                §
 DOYCE ELAINE THOMPSON,                         §
                                                §
        Plaintiff,                              §
                                                §          Case No. 4:17-cv-00913-O
 v.                                             §
                                                §
 COMMONWEALTH FINANCIAL                         §
 SYSTEMS, INC.,                                 §
                                                §
        Defendant.                              §




                         PROPOSED ORDER OF DISMISSAL

       Considering the Parties Joint Motion to Dismiss advising that the Parties have

settled their disputes in this matter, the Court enters the following order:


       IT IS ORDERED, ADJUDGED AND DECREED that this matter be, and it

hereby is, dismissed with prejudice, each party to bear its own costs and attorney’s fees;

and


       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that this Court

retains jurisdiction to enforce the settlement agreement between the Parties, provided that




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a motion to re-open the case and enforce the settlement agreement is filed on or before

December 22, 2018


      Dallas, Texas, this _____ day of September 2018.



                                                _______________________________________
                                                JUDGE REED C. O’CONNOR




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